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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


WOODHULL FREEDOM
    FOUNDATION, et al.,

                 Plaintiffs,             Case No. 1:18-cv-1552-RJL

     v.

UNITED STATES OF AMERICA, et al.,

                 Defendants.


      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
         DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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                                        INTRODUCTION

       Plaintiffs bring pre-enforcement facial challenges to the Allow States and Victims to Fight

Online Sex Trafficking Act of 2017 (“FOSTA”), Pub. L. No. 115-164, 132 Stat. 1253 (2018),

alleging that the law violates the First and Fifth Amendments and the Ex Post Facto Clause. It does

not. Congress enacted FOSTA in the face of documented evidence that the illegal sale of children

and coerced adults for sex has proliferated online, and indications that some websites knowingly

and intentionally facilitate such illegal conduct. Significantly, FOSTA does not criminalize any

conduct that was not already prohibited under existing federal law. Sex trafficking was already

illegal, as was the use of the facilities of interstate commerce (such as the Internet) to promote or

facilitate the illegal conduct of others. The purpose of FOSTA is to ensure that States and sex

trafficking victims can apply State criminal laws and federally-created civil rights of action to

combat illegal prostitution and sex trafficking that takes place on the Internet, despite a liability

shield for websites that Congress previously established in § 230 of the Communications Decency

Act (“CDA”), 47 U.S.C. § 230(c)(1) .

       Plaintiffs fail to show that FOSTA is substantially overbroad in violation of the First

Amendment. This Court, in its prior opinion in this case, Woodhull Freedom Found. v. United

States (“Woodhull I”), 334 F. Supp. 3d 185 (D.D.C. 2018), and Judge Katsas in his Court of

Appeals concurrence, Woodhull Freedom Found. v. United States (“Woodhull II”), 948 F.3d 363,

374 (D.C. Cir. 2020) (Katsas, J., concurring in part and concurring in the judgment), have already

correctly interpreted the terms of FOSTA as excluding the mere advocacy or educational activities

in which most of the Plaintiffs claim to be engaged. And even Plaintiffs acknowledge that nothing

in FOSTA’s plain terms prohibits massage therapy advertisements. Rather, the only conduct

covered by FOSTA is illegal prostitution and sex trafficking, and the intentional or knowing
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promotion or facilitation thereof.

       Nor is FOSTA a content-based restriction of speech. On its face, FOSTA prohibits illegal

conduct, not speech, and any speech that might be implicated in the course of transactions

involving illegal prostitution of another person or sex trafficking on the Internet is entitled to no

First Amendment protection.

       Plaintiffs’ additional First Amendment-related claims also fail. Plaintiffs are simply wrong

in suggesting that the various FOSTA provisions lack a scienter requirement. To the contrary, they

ensure that any conduct by a website owner, operator, or manager deemed to violate the new 18

U.S.C. § 2421A(a) must be intended to promote or facilitate an illegal act of prostitution, while an

aggravated violation requires the additional element that the website owner, operator, or manager

knew or should have known that the conduct deemed to violate § 2421A(a) contributed to sex

trafficking of a child or of an adult by force, fraud, or coercion. And websites deemed to violate

18 U.S.C. § 1591(a)(2) because they received a financial benefit from sex trafficking must have

knowingly participated in a sex trafficking venture. Plaintiffs also fail to identify a cognizable

challenge based on the notion that FOSTA selectively removed § 230’s liability shield for crimes

related to sex trafficking. To the contrary, Congress was entitled to reassess its policy choices in

light of the proliferation of online sex trafficking since the CDA’s enactment.

       Plaintiffs also fail to establish that FOSTA is unconstitutionally vague. Rather, FOSTA’s

terms are easily understood in the context of the criminal statutes in which they appear. Finally,

Plaintiffs’ attempt to invalidate FOSTA on its face pursuant to the Ex Post Facto Clause should

fail. Such challenges are properly brought only in an as-applied context, and any ex post facto

problem here could only arise if a State, in its discretion, attempts to apply FOSTA’s provisions

retroactively. Plaintiffs establish no likelihood that any State will do so.



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       Plaintiffs’ claims therefore should be rejected, and summary judgment should be granted

in favor of Defendants.

                                        BACKGROUND

I.     STATUTORY BACKGROUND

       A.      Pre-FOSTA Legislation and Other Developments

       Congress originally enacted 47 U.S.C. § 230 in 1996 as part of Title V of the

Telecommunications Act of 1996, Pub. L. No. 104-104, 110 Stat. 56, known as the CDA. In that

provision, Congress made a policy decision to “shield[] interactive computer service providers

from being treated ‘as the publisher or speaker’ of any content that is posted by users of the site.”

Woodhull II, 948 F.3d at 367 (quoting 47 U.S.C. § 230(c)(1)); cf. Jones v. Dirty World Entm’t

Recordings LLC, 755 F.3d 398, 407-08 (6th Cir. 2014) (recognizing this policy choice “departed

from the common-law rule that” a publisher or distributor “of tortious material written or prepared

by others” could be held liable for that material); Zeran v. America Online, Inc., 129 F.3d 327,

330–31 (4th Cir. 1997) (“Congress made a policy choice . . . not to deter harmful online speech

through the separate route of imposing tort liability on companies that serve as intermediaries.”).

Through this provision, Congress sought to strike a balance between “promoting a free and open

internet,” Woodhull II, 948 F.3d at 367; cf. Jones, 755 F.3d at 407, and protecting minors from

harmful content by encouraging websites to engage in “voluntary self-policing of the third party

content made available through [their] service,” id. at 408.

       From the beginning, Congress made clear that the § 230 shield did not apply to the extent

the website itself was the “information content provider,” by being “responsible, in whole or in

part, for the creation or development of information provided” through its service. 47 U.S.C.

§ 230(f)(3); see Jones, 755 F.3d at 408; see also Huon v. Denton, 841 F.3d 733, 742 (7th Cir. 2016)



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(“A company can, [despite § 230], be liable for creating and posting, inducing another to post, or

otherwise actively participating in the posting of a defamatory statement in a forum that that

company maintains.”). Congress also specified, from the beginning, that this shield would have no

impact on the enforcement of federal criminal laws, including those relating to obscenity or the

sexual exploitation of children. 47 U.S.C. § 230(e)(1). However, the § 230 shield served to bar

States and local governments from enforcing any law—including a State or local criminal law—

“that is inconsistent” with § 230. Id. § 230(e)(3).

       Separately, Congress has also enacted legislation to combat the growing scourge of sex

trafficking. First enacted in 1961, the Travel Act, Pub. L. No. 87-228, 75 Stat. 498 (codified as

amended at 18 U.S.C. § 1952), addresses the promotion or facilitation of sex trafficking by

prohibiting the use of “any facility in interstate or foreign commerce, with intent to . . . promote,

manage, establish, carry on, or facilitate the promotion, management, establishment, or carrying

on, of any unlawful activity.” 18 U.S.C. § 1952(a)(3). In 2000, Congress enacted the Trafficking

Victims Protection Act (“TVPA”), Pub. L. No. 106-386, 114 Stat. 1464 (2000) (codified as

amended at 18 U.S.C. § 1591), which prohibits sex trafficking of children or sex trafficking of

adults by means of force, fraud, or coercion. 18 U.S.C. § 1591(a). In 2003, as part of the Trafficking

Victims Protection Reauthorization Act of 2003, Pub. L. No. 108-193, 117 Stat. 2875, Congress

added a provision that authorized victims of sex trafficking to file civil suits against their

“perpetrator” or anyone else who “knowingly benefits, financially or by receiving anything of

value from participation” in sex trafficking. 18 U.S.C. § 1595(a).

       Since those laws were enacted, there has been an exponential growth in the use of online

marketplaces for the illegal sex trafficking of children and adults. The National Center for Missing

and Exploited Children (“NCMEC”) identified an 846% increase in suspected sex trafficking from



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2010 to 2015, which the NCMEC found to be “directly correlated to the increased use of the

Internet to sell children for sex.” 1 The “criminal industry” of sex trafficking globally generates

“$99 billion a year—with a considerable portion of that money being generated through online

advertising and solicitation.” 2 More than 80% of federal sex trafficking prosecutions between 2015

and 2020 involved online advertising. 3 An investigation by the Senate Permanent Subcommittee

on Investigations into the anonymous marketplace website Backpage.com (“Backpage”)—a site

that “reportedly net more than 80% of all revenue from online commercial sex advertising in the

United States”—found that Backpage had taken intentional measures to help sex traffickers avoid

detection when posting advertisements online for commercial sex. See Senate Investigation

Report, at 23–41. 4

       Because § 230 has no impact on the enforcement of federal criminal laws, the federal



1
  See U.S. Senate, Permanent Subcomm. on Investigations, Backpage.com’s Knowing Facilitation
of Online Sex Trafficking (“Senate Investigation Report”), available at https://go.usa.gov/xmgPW;
see also U.S. Dep’t of Justice, The National Strategy for Child Exploitation Prevention and
Interdiction, 4, 10, 76 (Apr. 2016), available at https://go.usa.gov/xmgPA (stating that the Internet
“has become a thriving marketplace for selling children for sex” and “[w]ebsites like
Backpage.com have emerged as a primary vehicle for the advertisement of children to engage in
prostitution.”); H.R. Rep. No. 115-572(I) at 3 (2018) (explaining that websites, “including online
classified sites like Backpage.com, Eros, Massage Troll, and cityxguide, have . . . become one of
the primary channels of sex trafficking”).
2
  164 Cong. Rec. H1292 (daily ed. Feb. 27, 2018) (statement of Rep. Jackson Lee); International
Labor Office, Profits and Poverty: The Economics of Forced Labor 27 (2014), available at
https://www.ilo.org/wcmsp5/groups/public/---ed_norm/---declaration/documents/publication/
wcms 243391.pdf (“The total annual profits made from forced sexual exploitation are estimated
at US$99 billion worldwide,” with the highest annual profits per victim in Developed Economies
(US$80,000), “due to the high average price of sexual encounters.”).
3
 See Human Trafficking Institute, 2019 Federal Human Trafficking Report, at 28, available at
https://www.traffickinginstitute.org/federal-human-trafficking-report-2019/.
4
  See also 164 Cong. Rec. H1278 (statement of Rep. Slaughter); H.R. Rep. 115-571(1), at 3-4;
Indictment [ECF 3], United States v. Lacey, No. 2:18-cr-422 (D. Ariz. filed Mar. 28, 2018)
(describing extensive criminal conduct by Backpage officers and employees).
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government has always been and remains able to prosecute sex trafficking crimes, pursuant to

§ 1591(a) and the Travel Act, when they occur online, including against website publishers that

use their websites with the intent to promote or facilitate sex trafficking. For example, the federal

government indicted the website operator of MyRedbook.com under the Travel Act and 18 U.S.C.

§ 2 (aiding and abetting), among other charges, for the alleged promotion and facilitation of sex

trafficking. See Indictment [ECF 1] (filed June 24, 2014) & Sentencing Memorandum [ECF 70]

(filed May 14, 2015), United States v. Omuro, No. 3:14-cr-00336 (N.D. Cal.).

       However, courts held that § 230 barred individuals from invoking the § 1595(a) right of

action against website publishers of classified advertisements even where the publishers were

alleged to structure their websites “to camouflage advertisements for sex traffickers.” Woodhull

II, 948 F.3d at 367. For example, in Doe No. 1 v. Backpage.com, LLC, 817 F.3d 12 (1st Cir. 2016),

the First Circuit affirmed the dismissal, pursuant to § 230(c)(1), of a private suit against Backpage.

See Doe No. 1, 817 F.3d at 15; see also M.A. ex rel. P.K. v. Village Voice Media Holdings, LLC,

809 F. Supp. 2d 1041, 1053 (E.D. Mo. 2011) (similarly holding individual’s § 1595 claim against

Backpage was barred by § 230). The court in Doe No. 1 explained that, if Congress deemed the

evils targeted by § 1595 to “outweigh” the values underlying § 230, and to justify civil suits by

victims of sex trafficking against internet publishers such as Backpage that “tailor[] [their]

website[s] to make sex trafficking easier,” “the remedy is through legislation” to amend § 230.

Doe No. 1, 817 F.3d at 29.

       B.      FOSTA’s Provisions

       Congress decided to do just that. In FOSTA, enacted on April 11, 2018, Congress amended

§ 230, and made other statutory changes, so as not to impede State and private efforts to combat

sex trafficking. FOSTA sets forth the “Sense of Congress” that “websites that promote and



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facilitate prostitution have been reckless in allowing the sale of sex trafficking victims,” and that

§ 230 “was never intended to provide legal protection to websites that unlawfully promote and

facilitate . . . traffickers in advertising the sale of unlawful sex acts with sex trafficking victims.”

See Pub. L. No. 115-164, § 2.

       In regard to the private right of action in § 1595, FOSTA amended § 230 by adding a

subsection stating that § 230 should not be interpreted to shield “any claim in a civil action brought

under [18 U.S.C. §] 1595 . . . if the conduct underlying the claim constitutions a violation of [18

U.S.C. §] 1591.” FOSTA § 4(a) (codified at 47 U.S.C. § 230(e)(5)(A)). FOSTA also enacted an

additional remedy for victims of sex trafficking. Id. § 3 (codified at 18 U.S.C. § 2421A(c)).

       FOSTA also amended § 1595 to allow a State attorney general to bring a civil action “as

parens patriae” against those who violate § 1591 and thereby threaten or adversely affect the

State’s residents. FOSTA § 6(a) (codified at 18 U.S.C. § 1595(d)). “In layman’s terms,” § 1595(d)

“allows state attorneys general to step into the shoes of victims and bring civil suits on their

behalf.” Woodhull I, 334 F. Supp. 3d at 192. Such actions are also excepted from the § 230(c)(1)

bar pursuant to § 230(e)(5)(A).

       In regard to State criminal prosecutions, FOSTA added another provision to § 230 stating

that § 230 should not be construed to shield third parties from “any charge in a criminal prosecution

brought under State law if the conduct underlying the charge would constitute a violation of [18

U.S.C. §] 1591.” FOSTA § 4(a) (codified at 47 U.S.C. § 230(e)(5)(B)).

       FOSTA also made two changes to federal criminal law. First, FOSTA enacted 18 U.S.C.

§ 2421A, which prohibits “own[ing], manag[ing], or operat[ing] an interactive computer service .

. . with the intent to promote or facilitate the prostitution of another person.” FOSTA § 3(a)

(codified at 18 U.S.C. § 2421A(a)). The new law provides for an enhanced penalty when the



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offender “promotes or facilitates the prostitution of 5 or more persons” or “acts in reckless

disregard of the fact that such conduct contributed to sex trafficking, in violation of 1591(a).” Id.

(codified at 18 U.S.C. § 2421A(b)). The law also provides an affirmative defense “where the

defendant proves, by a preponderance of the evidence, that the promotion or facilitation of

prostitution is legal in the jurisdiction where [it] was targeted.” 18 U.S.C. § 2421A(e).

       Section 2421A does not extend the scope of conduct prohibited by federal law because the

conduct it identifies is already encompassed within the Travel Act, which broadly covers a range

of criminal activity. See 18 U.S.C. § 1952(a). The Travel Act’s prohibition on promoting,

managing, establishing, carrying on, or facilitating “any unlawful activity,” id., includes unlawful

prostitution of another person or sex trafficking. However, § 230, as amended by FOSTA, cross-

references the new § 2421A in order to clearly articulate that States with their own criminal laws

prohibiting the promotion or facilitation of prostitution may enforce those laws against website

owners, managers, or operators. FOSTA § 4(a) (codified at 47 U.S.C. § 230(e)(5)(C)).

       Second, FOSTA amended § 1591 by defining the term “participation in a venture” to mean

“knowingly assisting, supporting or facilitating a violation of [18 U.S.C. § 1591](a)(1).” FOSTA

§ 5 (codified at 18 U.S.C. § 1591(e)(4)).

       In a Note added to § 230, FOSTA identifies the effective date of FOSTA’s amendments to

§ 230 as the date of FOSTA’s enactment, and indicates that those amendments “shall apply

regardless of whether the conduct alleged occurred, or is alleged to have occurred, before, on, or

after such date of enactment.” FOSTA § 4(b). In a February 27, 2018 letter submitted to the House

Committee on the Judiciary, the Department of Justice indicated that this provision raised a serious

constitutional concern, insofar as it would allow punishment to be imposed for acts not punishable

at the time they were committed. See U.S. Dep’t of Justice Office of Legislative Affairs, Letter to



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Hon. Robert Goodlatte, Chairman, U.S. House of Representatives Comm. of the Judiciary (Feb.

27, 2018) (“Feb. 27, 2018 Letter”), 164 Cong. Rec. H1297. However, the Department later

indicated, in a March 23, 2018 letter submitted to the Office of Management and Budget, that it

supported FOSTA’s passage and that State prosecutors could avoid any ex post facto concern by

“pursuing only newly prosecutable criminal conduct that takes place after the bill is enacted.” See

U.S. Dep’t of Justice Office of Legislative Affairs, Letter to Hon. Mick Mulvaney, Director, Office

of Management and Budget (Mar. 23, 2018) (“March 23, 2018 Letter”) [ECF 15-1], at 2.

       Plaintiffs’ challenges here focus on 18 U.S.C. § 2421A (added by FOSTA § 3); 47 U.S.C.

§ 230(e)(5) and the § 230 Note (the “§ 230 Amendments”) (added by FOSTA § 4); and

§ 1591(e)(4) (the “§ 1591 Amendment”) (added by FOSTA § 5).

II.    PROCEDURAL HISTORY

       A.      Initial District Court Proceedings

       Plaintiffs—consisting of three organizations and two individuals—filed suit on June 28,

2018, seeking declaratory and injunctive relief on the grounds that the various provisions of

FOSTA are unconstitutional under the First and Fifth Amendments.. Compl. [ECF 1] ¶ 1.

Woodhull Freedom Foundation (“Woodhull”) asserts that it works to “affirm[] and protect[] the

fundamental human right to sexual freedom.” Id. ¶ 15. Human Rights Watch (“HRW”) asserts that

it “advocate[s] for the decriminalization of sex work, and for respect for the human rights of sex

workers around the world.” Id. ¶ 16. Eric Koszyk (“Koszyk”) asserts that he is a licensed massage

therapist who, since the passage of FOSTA, has been blocked by Craigslist from posting online

classified advertisements regarding his personal massage business. Id. ¶ 17. Alex Andrews

(“Andrews”) asserts that she operates a website, Rate That Rescue, which allows sex workers to

share information. Id. ¶ 18. The Internet Archive (“the Archive”) asserts that it collects and



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displays on its website web materials from other sources. Id. ¶ 19.

       The Complaint sets forth six separate claims, each challenging multiple FOSTA provisions.

Count I alleges that “[e]ach of FOSTA’s operative provisions”—which it identifies as FOSTA

§§ 3, 4, and 5—is unconstitutionally overbroad under the First Amendment. Compl. ¶¶ 129-32.

Count II alleges that each of those provisions imposes a content-based restriction of speech that

fails strict scrutiny. Id. ¶¶ 136-40. Count III alleges that certain terms in each of the three FOSTA

provisions are unconstitutionally vague in violation of the First and Fifth Amendment. Id. ¶¶ 149,

152-54. Count IV alleges that FOSTA § 4 (setting forth the § 230 Amendments), constitutes a

“selective” removal of immunity from State prosecutions and individual and State civil actions in

violation of the First Amendment. Compl. ¶ 160. Count V alleges that FOSTA §§ 3 and 5 each

lacks a scienter requirement in violation of the First Amendment. Compl. ¶¶ 165-67. Count VI

alleges that FOSTA § 4(b) violates the Ex Post Facto Clause and the Fifth Amendment. Compl.

¶¶ 169, 173-74.

       Although Plaintiffs’ Complaint purports to challenge FOSTA “on its face and as applied

to Plaintiffs,” none of Plaintiffs’ claims are identified as as-applied claims, nor have Plaintiffs

sought to prosecute as-applied challenges in any proceedings to date. 5 Rather, Plaintiffs have most

recently characterized their claims as “pre-enforcement facial constitutional challenges.” Pl.

Request for Scheduling Conference [ECF 31], at 1.

       Plaintiffs filed a motion for a preliminary injunction judgment on June 28, 2018. [ECF 5.]

Defendants opposed the preliminary injunction and moved to dismiss. [ECF 15.] In addition to

refuting Plaintiffs’ claims on the merits, Defendants argued that Plaintiffs lacked standing because




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  The only references in the Complaint to an “as-applied” claim occur in the first paragraph and
the Requested Relief. Compl. ¶ 1 & p.51.
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their alleged conduct is not credibly subject to prosecution under any of the prohibitions set forth

in FOSTA. Id. at 9-15. On September 24, 2018, the Court granted Defendants’ motion to dismiss

for lack of standing and denied Plaintiffs’ motion for preliminary injunction as moot. Woodhull I,

334 F. Supp. 3d at 203-04.

       B.      The Court’s Opinion of September 24, 2018

       In its September 24, 2018 Memorandum Opinion, the Court rejected Plaintiffs’ urged

construction of § 2421A as “criminaliz[ing] any conduct that makes prostitution easier or more

likely.” Woodhull I, 334 F. Supp. 3d at 199 (internal quotation and alteration marks omitted). The

Court pointed out that, consistent with cases cited by Plaintiffs, § 2421A “contains . . . a heightened

mens rea requirement, demanding that the Government prove intent—rather than knowledge or

even recklessness—to promote or facilitate.” Id. (citing Doe v. GTE Corp., 347 F.3d 655, 659 (7th

Cir. 2003)). As the Court explained, this mens rea requires the Government to show “not simply

that the defendant was aware of a potential result of the criminal offense, but instead that the

defendant intended to ‘explicitly further[]’ a specified unlawful act.” Id. at 201 (quoting United

States v. Brown, 186 F.3d 661, 670 (5th Cir. 1999)). The Court also rejected Plaintiffs’ reliance on

dictionary definitions of “promote” and “facilitate,” pointing out that “[t]hose definitions . . . do

not shed light on Section 2421A as a whole” because they ignore “both the mens rea requirement

and the language ‘prostitution of another person,’ which denotes specific unlawful acts.” Id. at 199

(criticizing Plaintiffs’ interpretation as “turn[ing] a blind eye to the specific context in which

[statutory] language is used, and the broader context of the statute as a whole”) (internal quotation

omitted)).

       The Court identified the phrase “prostitution of another person” in § 2421A as a “key

textual indication[] that make[s] clear that FOSTA targets specific acts of illegal prostitution—not



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the abstract topic of prostitution or sex work.” Woodhull I, 334 F. Supp. 3d at 200. As the Court

explained, the phrase “is plainly calculated to ensnare only specific unlawful acts with respect to

a particular individual, not the broad subject-matter of prostitution.” Id. The Court identified the

existence of an affirmative defense where prostitution is legal “in the jurisdiction where the

promotion or facilitation was targeted” as another key indicator, “tether[ing]” § 2421A(a)’s

prohibition “to specific crimes much in the way that the Travel Act does.” Id. In other words, the

existence of the affirmative defense means that “the Government may prosecute under Section

2421A” only where the intent is to promote or facilitate “acts that are otherwise illegal under

existing federal or state law.” Id.

        The Court found further support for its interpretation in the Travel Act, which § 2421A

“mirrors” and which therefore “gives a sense both of the meaning of the plain text of Section

2421A, and of the likelihood of enforcement for specific conduct.” Woodhull I, 334 F. Supp. 3d at

199-200. Significantly, Plaintiffs failed to identify “any example of prosecution under the Travel

Act that track[ed]” Plaintiffs’ proposed interpretation of § 2421A. Id. at 200. To the contrary, the

Court cited jury instructions that the Ninth Circuit had approved for Travel Act prosecutions,

explaining that the terms “promote” and “facilitate” referred to acts “that would cause the activity

to be accomplished or to assist in the activity,” reflecting “the close causal connection required for

prosecution.” Id. (citing United States v. Bennett, 95 F.3d 1158 (9th Cir. 1996)).

        The Court also concluded that any speech implicated by “own[ing], manag[ing], or

operat[ing] an interactive computer service” in violation of § 2421A would not be speech protected

by the First Amendment because any such speech would be “‘intended to induce or commence

illegal activities.’” Woodhull I, 334 F. Supp. 3d at 201 (quoting Williams, 553 U.S. at 297).

        The Court concluded that, in light of this statutory interpretation, four of the five Plaintiffs



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failed to allege a credible threat of prosecution because their asserted conduct was unlikely to

satisfy the applicable mens rea, either for § 2421A or State law actions addressed by § 230(e)(5).

Woodhull I, 334 F. Supp. 3d at 201-03. In particular, neither Woodhull, HRW, Andrews, nor the

Archive asserted an intent to “promote or facilitate specific acts of prostitution in violation of state

or federal law,” so as to fall within the ambit of § 2421A or a parallel State criminal law. See id.

And neither Andrews nor the Archive asserted conduct suggesting they could be prosecuted for

“‘knowingly’ participating in a venture that ‘recruits, entices, harbors transports, provides, obtains,

advertises, maintains, or solicits by any means a person . . . knowing” that the person will be used

for sex trafficking. Id. at 203. The Court also held that Koszyk failed to establish the redressability

prong of standing with respect to his asserted injury, which stemmed from Craigslist’s decision to

eliminate the Therapeutic Services section from its website. Id.

        C.      The Court of Appeals’ Decision

        Plaintiffs appealed, and the Court of Appeals reversed the Court’s dismissal, concluding

that Andrews and Koszyk had established Article III standing. Woodhull II, 948 F.3d at 371. The

majority did not reach a conclusion regarding the interpretation of FOSTA’s provisions. Rather, it

indicated that, even under the Government’s proposed interpretation, Andrews’ intended conduct

was “‘arguably proscribed’ by FOSTA”—and was thus sufficient for purposes of alleging

standing—because the website that Andrews operates “allows sex workers to share information

about online payment processors like PayPal.” Id. at 372-73 (explaining that it “need not read

FOSTA to encompass advocacy or educational activities to hold that Andrews has standing”). The

majority concluded that this conduct “might trigger an enforcement action.” Id. at 373. The

majority also held that Koszyk’s asserted injury was redressable because a favorable decision

would create “a significant increase in the likelihood” that Craigslist would restore its Therapeutic



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Services section. Id. at 374 (internal quotation omitted).

       Judge Katsas, concurring in part and concurring in the judgment, agreed that Andrews and

Koszyk had plausibly alleged Article III standing. Id. at 374-75 (Katsas, J., concurring). However,

Judge Katsas explained that, rather than leaving FOSTA’s interpretation open, as the majority did,

he would “reject the plaintiffs’ proposed construction” outright because it “ignores or overreads

all the key statutory terms.” Id. at 375. Judge Katsas recognized the language “the prostitution of

another person” in § 2421A as referring to a “widely criminalized act,” not “prostitution as an

abstract legal or policy matter.” See id. In interpreting the terms “promote” and “facilitate,” Judge

Katsas pointed to their criminal law context, in which those terms have specific meanings, and

concluded that “FOSTA’s requirement of action with an ‘intent to promote or facilitate’

prostitution” must reference “the background law of aiding and abetting” because it “track[s]

almost verbatim the canonical formulation for th[at] offense.” Id. Thus, in Judge Katsas’ reading,

§ 2421A requires the Government to prove that a defendant have “the specific intent to pander or

otherwise abet the exchange of sex for money—not simply to advocate for, educate, or provide

general assistance to persons who prostitute.” Id. Under this construction, FOSTA “does not

arguably cover” the asserted conduct of Woodhull, HRW, or the Archive, nor Andrews’ website

“insofar as it provides information about ‘support and rescue’ organizations.” Id. However, Judge

Katsas agreed with the majority that postings on Andrews’ website that provide information about

PayPal and other “online payment processors” “might support an inference that Andrews has the

requisite intent to ‘promote or facilitate the prostitution’ of someone besides herself.” Id. at 376.

       The Court of Appeals thus reversed this Court’s order dismissing the complaint for lack of

subject-matter jurisdiction and remanded for further proceedings.




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                                   STANDARD OF REVIEW

       Federal Rule of Civil Procedure 56 provides that a court “shall grant summary judgment if

the movant shows that there is no genuine dispute as to any material fact and the movant is entitled

to judgment as a matter of law.” “Although a court should draw all inferences from the supporting

records submitted by the nonmoving party, the mere existence of a factual dispute, by itself, is not

sufficient to bar summary judgment.” Pro-Football, Inc. v. Harjo, 284 F. Supp. 2d 96, 112 (D.D.C.

2003). Rather, the dispute must concern a question of fact that is material, meaning that it is

“capable of affecting the substantive outcome of the litigation.” Id. The dispute must also be

genuine, meaning that it is “supported by sufficiently admissible evidence such that a reasonable

trier-of-fact could find for the nonmoving party.” Id.

                                           ARGUMENT

I.     PLAINTIFFS’ OVERBREADTH CLAIM (COUNT I) FAILS AS A MATTER OF
       LAW

       Plaintiffs first allege that “[e]ach of FOSTA’s operative provisions” is facially invalid

under the First Amendment’s overbreadth doctrine. The overbreadth doctrine provides a narrow

exception to “traditional rules of standing” by allowing a plaintiff to bring a facial First

Amendment challenge to a regulation of “spoken words” or patently “expressive or

communicative conduct” based on its chilling effect on others. Broadrick v. Oklahoma, 413 U.S.

601, 612-13 (1973). However, declaring a statute unconstitutional on overbreadth grounds is

“‘strong medicine’ [that should be] employed . . . with hesitation, and then ‘only as a last resort.’”

L.A. Police Dep’t v. United Reporting Pub. Corp., 528 U.S. 32, 39 (1999) (citations omitted); cf.

Green v. U.S. Dep’t of Justice, 392 F. Supp. 3d 68, 88 (D.D.C. 2019) (dismissing plaintiffs’

overbreadth claim because they “ ‘failed to identify any significant difference’” between their

overbreadth and as-applied claims and had not alleged that the statute would “have any different

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impact on third parties’ interests in free speech than it has on’ their own” (quoting City Council v.

Taxpayers for Vincent, 466 U.S. 789, 801 (1984)).

       Such caution is warranted because, when a statute is deemed facially invalid, even

otherwise legitimate applications of the statute are “totally forbidden”—leaving the harms

originally identified by Congress to continue unabated. Broadrick, 413 U.S. at 613; see United

States v. Williams, 553 U.S. 285, 292 (2008) (recognizing the “obvious harmful effects” of

“invalidating a law that in some of its applications is perfectly constitutional—particularly a law

directed at conduct so antisocial that it has been made criminal”); Aiello v. City of Wilmington, 623

F.2d 845, 855 (3d Cir. 1980) (“[F]acial invalidation is not a finely honed scalpel in the hands of a

judicial surgeon but a broad-blade instrument, which must be applied with restraint.”).

       The Supreme Court has therefore “vigorously enforced the requirement that a statute’s

overbreadth be substantial, not only in an absolute sense, but also relative to the statute’s plainly

legitimate sweep.” Williams, 553 U.S. at 292 (citing Bd. of Trs. v. Fox, 492 U.S. 469, 485 (1989);

Broadrick, 413 U.S. at 615). Striking down a law is inappropriate when there is a “core of easily

identifiable” conduct that the statute can constitutionally regulate. Sec’y of State v. Joseph H.

Munson Co., 467 U.S. 947, 964-67 (1984).

       Plaintiffs “bear[] the burden of demonstrating, ‘from the text of [the law] and from actual

fact,’ that substantial overbreadth exists.” Virginia v. Hicks, 539 U.S. 113, 122 (2003) (quoting

N.Y. State Club Ass’n., Inc. v. City of New York, 487 U.S. 1, 14 (1988)); see also Ashcroft v. ACLU,

535 U.S. 564, 584 (2002) (rejecting plaintiffs’ overbreadth challenge because they failed to show

that statute’s overbreadth was “‘not only . . . real, but substantial as well’” (quoting Broadrick, 413

U.S. at 615)). Moreover, “there must be a realistic danger that the statute itself will significantly

compromise recognized First Amendment protections of parties not before the Court for it to be



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facially challenged on overbreadth grounds.” Taxpayers for Vincent, 466 U.S. at 801.

       The Supreme Court has directed that the “first step” in assessing an overbreadth challenge

is “to construe the challenged statute.” Williams, 553 U.S. at 293. In Williams, the Court

determined that the statute at issue there prohibited offers and solicitations of child pornography—

a category of material that is illegal and entitled to no First Amendment protection. See id.

(observing that the statute’s “definition of the material or purported material that may not be

pandered or solicited precisely tracks” the category of “child pornography” that the Court had

previously held fell outside First Amendment protection). Id. The Court concluded that, because

receipt of child pornography is an “illegal transaction,” offers or solicitations of such material were

also “categorically excluded from the First Amendment.” Id. at 298-99. Far from being

unconstitutionally overbroad, the statute at issue thus did not implicate the First Amendment at all.

Id.

       The Supreme Court has also questioned whether a facial overbreadth challenge could ever

succeed “against a law or regulation that is not specifically addressed to speech or to conduct

necessarily associated with speech (such as picketing or demonstrating),” even if some

applications of the law may implicate protected speech. Hicks, 539 U.S. at 124 (indicating that

such challenges will succeed “[r]arely, if ever”); accord Mahoney v. Dist. of Columbia, 662 F.

Supp. 2d 74, 86 n.5 (D.D.C. 2009), aff'd sub nom. Mahoney v. Doe, 642 F.3d 1112 (D.C. Cir.

2011). In Hicks, the Court held that a city housing authority’s trespass policy was not

unconstitutionally overbroad because, on its face, the policy was not directed at First Amendment-

protected activity at all, even though in some instances, a person violating the policy might have

sought to enter the property for speech-related (leafletting) purposes. Hicks, 539 U.S. at 124; see

also Hastings v. Judicial Conf., 829 F.2d 91, 106–07 (D.C. Cir. 1987) (rejecting overbreadth



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challenge to judicial misconduct statute because statute was “directed against serious judicial

transgressions, not against protected speech”).

        In contrast to those cases, the Court in Stevens struck down as facially overbroad a statute

that referenced “depictions of animal cruelty” on its face—thus bringing the First Amendment

squarely into play. See United States v. Stevens, 559 U.S. 460, 464-65 (2010). The Court held that

such depictions were not categorically excluded from First Amendment protection, id. at 472, and

that the statute covered many types of depictions where the underlying conduct was not

categorically illegal and was in some cases widespread—such as hunting and livestock slaughter,

id. at 476-77. The Court struck down the statue as unconstitutionally overbroad because the

statute’s prohibition of protected speech was apparent on its face and was of “alarming breadth.”

Id. at 474.

        The situation here is far afield from Stevens and instead resembles those in Williams and

Hicks. Like the latter two cases, FOSTA’s provisions are not, on their face, directed to First

Amendment-protected activity. None of these provisions, by their plain terms, prohibit, regulate,

or reference categories of protected speech or expressive activity. The § 230 Amendments simply

clarify that § 230 should not be construed to shield certain conduct that is illegal under other laws

from State prosecution or State and individual civil actions. See 47 U.S.C. § 230(e)(5). The § 1591

Amendment adds a definition of “participation in a venture,” but the definition does not reference

expressive activity. See 18 U.S.C. § 1591(e)(4). And although § 1591 itself refers to “advertising,”

the advertising that it prohibits is advertising a person knowing that the person is a child or subject

to force, fraud, or coercion and will be caused to engage in a commercial sex act, see id.

§ 1591(a)—which under Williams and other cases qualifies as an offer of an illegal transaction

outside the scope of the First Amendment. See Williams, 553 U.S. at 297 (“offers to engage in



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illegal transactions are categorically excluded from First Amendment protection”); Cent. Hudson

Gas & Elec. Corp. v. Pub. Serv. Comm’n, 447 U.S. 557, 561-62 (1980) (commercial speech

“related to illegal activity” is not protected by the First Amendment); Pittsburgh Press Co. v.

Pittsburgh Comm’n on Human Relations, 413 U.S. 376, 388-89 (1973) (“We have no doubt that a

newspaper constitutionally could be forbidden to publish a want ad proposing a sale of narcotics

or soliciting prostitutes.”). Finally, § 2421A does not, on its face, identify any category of protected

speech. Rather, it prohibits certain conduct when done “with the intent to promote or facilitate the

prostitution of another person.” 18 U.S.C. § 2421A(a).

        Plaintiffs appear to base their contention that FOSTA on its face implicates protected

speech on the fact that FOSTA’s stated sense of Congress references websites, see FOSTA § 2,

and the provision that it added, § 2421A, also refers to those who “own[], manage[], or operate[]

an interactive computer service,” FOSTA § 3. In prior proceedings in this case, they sought to rely

on discussions of the Internet in cases such as Reno v. ACLU, 521 U.S. 844, 867-68 (1997), and

Packingham v. North Carolina, 137 S. Ct. 1730, 1737 (2017). However, these cases concluded

that the First Amendment was implicated based on the relevant statute’s description of the

regulated content. ACLU addressed provisions in the CDA that sought to criminalize the

transmission of, not only obscene, but also “indecent” or “patently offensive” speech to children.

ACLU, 521 U.S. at 871-74. The Court held that, in light of those terms, the statute on its face

prohibited protected speech and was unconstitutionally vague. Id. at 874. Similarly, in

Packingham, the Court addressed a statute that prohibited registered sex offenders from accessing

any social networking website where the offenders knew children could join or maintain

webpages. Packingham, 137 S. Ct. at 1733. The Court held that the law was not narrowly tailored

because it broadly curtailed offenders’ access to the Internet altogether. Id. at 1737-38.



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       None of these cases held that a mere reference to the Internet or to ownership or operation

of a website would suffice for a statute to be deemed, on its face, to regulate protected speech. Not

everything that happens on or through the Internet is protected by the First Amendment, and there

are clearly entire categories of material on the Internet that are entitled to no First Amendment

protection at all—such as child pornography, New York v. Ferber, 458 U.S. 747, 764 (1982), or

solicitations to engage in illegal activity, Williams, 553 U.S. at 297. A statute that prohibits the

transmission of child pornography “on the Internet” no more implicates the First Amendment than

does a statute that prohibits the distribution of child pornography through other means. Indeed,

statutes may prohibit certain conduct on the Internet without referencing it specifically. For

example, the term “facility” in the Travel Act, § 1952(a), includes the Internet 6, and the “unlawful

activity” referenced in § 1952(a)(3) includes illegal prostitution and sex trafficking, but the Travel

Act has never been deemed a regulation of protected speech. Here, despite FOSTA’s references to

the Internet, its provisions do not on their face regulate protected speech.

       Moreover, the Court of Appeals’ holding that some protected speech “might” be prohibited

by § 2421A, Woodhull II, 948 F.3d at 373, in no way suggests that it or any other FOSTA provision

should be deemed facially overbroad. At most, that holding suggests that the situation here

resembles that in Hicks, in that certain applications of § 2421A might involve protected activity

even though such activity is not expressly referenced in the statutory text. Plaintiffs have not shown

that this is the “[r]are[]” case where such a law should be deemed facially overbroad. Cf. Hicks,

539 U.S. at 124.

       Indeed, the fulsome statutory analysis that this Court has already conducted leads to the



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  E.g., United States v. Halloran, 821 F.3d 321, 342 (2d Cir. 2016) (explaining that, under the
“Travel Act, the government was required to prove that [the defendant] traveled interstate or used
a facility in interstate commerce (e.g., the telephone or the internet)”).
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conclusion that the vast majority of applications of FOSTA will not implicate the First Amendment

at all. See Woodhull I, 334 F. Supp. 3d at 199-201. Nothing in the Court of Appeals’ opinion

requires this Court to change its reading of FOSTA’s provisions, and Judge Katsas’ concurrence

agreed with the Court that Plaintiffs’ proposed broad construction of FOSTA “ignores or overreads

all the key statutory terms.” Woodhull II, 948 F.3d at 375 (Katsas, J., concurring). The majority

focused on the statement in Williams that terms such as “promote,” and here, “facilitate,” “[w]hen

taken in isolation, . . . are susceptible of multiple and wide-ranging meanings.” Woodhull II, 948

F.3d at 372 (quoting Williams, 553 U.S. at 294). But as Judge Katsas and this Court have already

recognized, FOSTA’s provisions do not occur “in isolation”; rather, they occur within a criminal

statute against a backdrop of well-established law on the crime of “aiding and abetting.” Id. at 375

(Katsas, J., concurring); see Woodhull I, 334 F. Supp. 3d at 199-200. Indeed, as Judge Katsas

explained, “FOSTA’s requirement of action with an ‘intent to promote or facilitate’ prostitution”

“track[s] almost verbatim the canonical formulation for the offense of aiding and abetting.” See id.

(citing Rosemond v. United States, 572 U.S. 65, 74 (2014)).

       And as this Court recognized, § 2421A “contains . . . a heightened mens rea requirement,

demanding that the Government prove intent—rather than knowledge or even recklessness—to

promote or facilitate.” Woodhull I, 334 F. Supp. 3d at 199 (citing GTE Corp., 347 F.3d at 659).

The Government must therefore show “that the defendant intended to ‘explicitly further[]’ a

specified unlawful act.” Id. at 201 (quoting Brown, 186 F.3d at 670). This means that “FOSTA

does require that the defendant own, manage, or operate a website with the specific intent to pander

or otherwise abet the exchange of sex for money—not simply to advocate for, educate, or provide

general assistance to persons who prostitute.” Woodhull II, 948 F.3d at 375 (Katsas, J., concurring).

As Senator Blumenthal (a primary sponsor of the legislation that became FOSTA) explained in



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urging the bill’s passage, FOSTA “was not designed to target websites that spread harm reduction

information, and the language of the bill makes that clear.” 164 Cong. Rec. S1852 (daily ed. Mar.

21, 2018).

       The use of these same terms in the Travel Act, which covers the same conduct prohibited

by § 2421A, is also significant. See 18 U.S.C. § 1952(a)(3) (prohibiting the use of ‘any facility in

interstate or foreign commerce”—which, again, includes the Internet—with the intent to “promote

. . . or facilitate the promotion . . . of any unlawful activity”). As this Court observed, Plaintiffs

have not provided “any example of prosecution under the Travel Act that tracks its own theory of

FOSTA’s vast sweep.” Woodhull I, 334 F. Supp. 3d at 199. The vast majority, if not all,

applications of FOSTA would thus involve intentional efforts to promote or facilitate specific

illegal acts, and those applications do not implicate the First Amendment. See Williams, 553 U.S.

at 298-99; Woodhull I, 334 F. Supp. 3d at 201. Plaintiffs thus cannot meet their burden to show

that FOSTA is substantially overbroad, and the Court therefore should grant judgment as a matter

of law in Defendants’ favor on Count I.

II.    PLAINTIFFS’ STRICT SCRUTINY CLAIM (COUNT II) FAILS AS A MATTER
       OF LAW

       For similar reasons, Plaintiffs’ claim that FOSTA’s provisions are content-based

restrictions of speech that fail strict scrutiny should also be rejected. “Government regulation of

speech is content based”—and thus subject to strict scrutiny—“if a law applies to particular speech

because of the topic discussed or the idea or message expressed.” Reed v. Town of Gilbert, 576

U.S. 155, 135 S. Ct. 2218, 2227 (2015). The first step in determining whether a regulation is

content based is to determine whether it is “a regulation of speech” that ‘on its face’ draws

distinctions based on the message a speaker conveys.” Id. In Reed, the Court held that a sign policy

was content based because it expressly distinguished between categories of speech on outdoor

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signs based on their message. See id. at 2224-25, 2227. There, ideological messages, political

messages, and directional messages were all separately addressed in the Sign Code. See id.

        FOSTA’s provisions, on the other hand, do not, on their face, regulate speech at all, for all

the reasons already discussed in Part I, supra. None of the provisions at issue reference speech,

much less any particular message. Cf. ANSWER Coal. v. Basham, 845 F.3d 1199, 1209 (D.C. Cir.

2017) (concluding that a regulation providing for Inaugural celebration bleachers permits on

Freedom Plaza was “clearly content neutral, because it makes no reference at all to speech, let

alone the content of speech,” and “only indirectly regulates where demonstrations may occur”).

Plaintiffs’ theory seems to be that crimes of owning, managing, or operating an interactive

computer service with the intent to promoting or facilitating an act of illegal prostitution or sex

trafficking are regulations of speech because people committing those crimes will inevitably either

use speech themselves, or enable others’ speech, in furtherance of their criminal acts. However,

FOSTA identifies no specific message as one that would demonstrate the requisite intent (to

promote or facilitate a specific act of illegal prostitution or sex trafficking), nor does it suggest that

any such message—or speech in any form—is the sole way that such an intent could manifest. In

other words, there is no necessary correlation between a specific message, or speech in general,

and the crimes that FOSTA identifies. Moreover, Plaintiffs’ theory, if accepted, would extend to

many crimes, especially those involving aiding and abetting or conspiracy. Humans use speech to

communicate with each other, even when they are communicating about illegal activities.

However, no court has ever held that that fact transforms every crime involving aiding and abetting

or conspiracy, or every crime in which people use language in any way, into a regulation of

speech—much less one that is content-based.

        Although communications in a particular case may serve as evidence of a website owner’s



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intent, that is far from a basis to deem the statute a content-based regulation of speech itself. Rather,

the situation here is similar to that in Democracy Partners v. Project Veritas Action Fund, No. 17-

1047, 2020 WL 1536217 (D.D.C. Mar. 31, 2020), where the court rejected an argument that a

wiretapping statute was content-based because one aspect of the law would require analysis of the

content of oral communications “to determine whether [the] communication contains confidential

information.” Id. at *18. As the court explained, “[a] law is not considered ‘content based’ simply

because a court must ‘look at the content of an oral or written statement in order to determine

whether a rule of law applies.’” Id. (quoting ACLU v. Alvarez, 679 F.3d 583, 603 (7th Cir. 2012)

(quoting Hill v. Colorado, 530 U.S. 703, 721 (2000))). Particularly where a law requires a specific

intent, “[i]t is common in the law to examine the content of a communication to determine the

speaker’s purpose.” Hill, 530 U.S. at 721. The Supreme Court in Hill thus held that a law requiring

consent in order to approach within eight feet of another person outside a clinic “for the purpose .

. . of engaging in oral protest, education, or counseling” was not content based simply because the

content of a communication could reveal the speaker’s purpose, and thus whether the restriction

applied. Id. As in Democracy Partners and Hill, any speech relevant to a prosecution here would

only be used to determine whether a website owner intended to promote or facilitate an illegal act.

Moreover, to the extent the speech at issue constitutes an offer or solicitation of an illegal

transaction, it would not be protected in the first place. Williams, 553 U.S. at 297.

        Rather than speech, FOSTA’s provisions prohibit conduct—specifically, acting with the

intent to promote or facilitate acts of illegal prostitution, as well as doing so with reckless disregard

that “such conduct” contributed to sex trafficking. 18 U.S.C. § 2421A(a)-(b). 7 At most, the crimes



7
 Because the other provisions of FOSTA merely add definitions or rights of action with respect to
previously-existing crimes or causes of action, or lift § 230 immunity for conduct already illegal
under other laws, they cannot even properly be described as prohibiting any conduct that was not
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and civil causes of action that are described may have an incidental impact on speech. Cf.

ANSWER, 845 F.3d at 1209. But because FOSTA on its face does not regulate speech, the Court

may consider that the law’s justification is unrelated to speech. See Reed, 135 S. Ct. at 2228-29

(explaining that Ward v. Rock Against Racism, 491 U.S. 781 (1989), applies to facially content-

neutral regulations). When such a regulation “‘serves purposes unrelated to the content of

expression,’” it “‘is deemed neutral, even if it has an incidental effect on some speakers or

messages but not others.’” ANSWER, 845 F.3d at 1210 (quoting Ward, 491 U.S. at 791); see also

Green, 392 F. Supp. 3d at 91 (prohibition on circumventing technological access controls on

copyrighted works was content neutral despite incidental impact on speech). Here, Congress

enacted FOSTA in furtherance of its goal to combat illegal prostitution and sex trafficking, and in

particular to clarify that § 230 should not shield websites from prosecution or liability that they

would otherwise face under preexisting laws. FOSTA § 2. In particular, since the Travel Act

already prohibits the use of websites with the intent to facilitate or promote illegal activity,

Congress included § 2421A in FOSTA primarily to serve as a cross-reference for § 230(e)(5)(C),

which clarifies that State laws prohibiting the same conduct can be applied to websites without

regard to § 230(c)(1). FOSTA’s provisions therefore do serve purposes unrelated to the content of

expression.

       FOSTA’s provisions therefore are not content-based and need not satisfy strict scrutiny.

Plaintiffs do not allege that FOSTA’s provisions fail any lesser form of First Amendment scrutiny.

Moreover, no facial First Amendment analysis of FOSTA’s provisions is appropriate where none

of these provisions necessarily regulate speech at all, and where Plaintiffs have not pursued any




already prohibited. Similarly, § 2421A does not prohibit anything not already prohibited by the
Travel Act. Regardless, none of FOSTA’s provisions on their face reference or regulate speech.
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as-applied challenge. The Court therefore should grant judgment to Defendants solely on the

ground that FOSTA’s provisions are not content-based. However, even if the Court were to

analyze FOSTA’s provisions under intermediate scrutiny, on the theory that some applications of

FOSTA may implicate protected speech, it should uphold FOSTA’s provisions.

       A content neutral regulation of speech comports with the First Amendment if (1) “the

restriction serves a substantial governmental interest”; (2) “the interest served is unrelated to the

suppression of free expression”; and (3) “the restriction does not burden substantially more speech

than is necessary to further the government's legitimate interest.” Green, 392 F. Supp. 3d at 91; cf.

United States v. O’Brien, 391 U.S. 367, 376 (1968) (“[W]hen ‘speech’ and ‘nonspeech’ elements

are combined in the same course of conduct, a sufficiently important governmental interest in

regulating the nonspeech element can justify incidental limitations on First Amendment

freedoms.”).

       All three prongs of this test are satisfied here. FOSTA serves substantial—indeed,

compelling—governmental interests. It serves the government’s interest in combatting illegal

prostitution and sex trafficking online and the role of “bad-actor” websites in connection with such

crimes. It also serves the government’s interest in allowing sex trafficking victims and States to

vindicate their own interests, using existing laws, against those who engage in this criminal

conduct. FOSTA § 2. These interests are unrelated to the suppression of any expression protected

by the First Amendment.

       Moreover, any incidental restriction on protected speech is no greater than necessary to

further the government’s legitimate interests. By removing the § 230 liability bar for the crimes

and civil actions that FOSTA describes and references, FOSTA furthers the government’s

compelling interest by allowing State and private suits that courts had previously held were barred.



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As discussed above, this Court and Judge Katsas have already properly construed FOSTA’s

provisions and correctly concluded that nothing in FOSTA prohibits the broad categories of speech

that convey advocacy and information but do not intentionally aid specific illegal acts. Woodhull

I, 334 F. Supp. 3d at 201-03; Woodhull II, 948 F.3d at 375 (Katsas, J., concurring). Even the speech

that the Court of Appeals suggested may be implicated by Andrews’ website—regarding the use

of PayPal—would only be implicated if Andrews had the requisite intent to promote or facilitate

specific illegal acts of prostitution. To the extent that she or other website owners or operators do

have such an intent, their conduct would already be illegal under the Travel Act, which, like

§ 2421A, prohibits the use of websites with the intent to promote or facilitate the promotion of

illegal prostitution. See 18 U.S.C. § 1952(a)(3). The conduct for which the § 230 Amendments

allow civil actions or State criminal prosecutions similarly must already be illegal under existing

law. See 47 U.S.C. § 230(e)(5)(A)-(C). By any measure, § 2421A and the § 230 Amendments

qualify as narrowly tailored because the only speech they implicate is that which is intentionally

or knowingly promotes or facilitates criminal activity and is already incidentally burdened by pre-

existing law. The Court therefore should grant judgment as a matter of law in Defendants’ favor

on Count II.

III.   PLAINTIFFS’ VAGUENESS CLAIM (COUNT III) FAILS AS A MATTER OF
       LAW

       Plaintiffs’ claim that certain terms in FOSTA are unconstitutionally vague also fails.

“Vagueness doctrine is an outgrowth of the Due Process Clause of the Fifth Amendment, not the

First Amendment.” United States v. Bronstein, 151 F. Supp. 3d 31, 37 (D.D.C. 2015) (citing

Williams, 553 U.S. at 304). “A criminal law is unconstitutionally vague if it is written so

imprecisely ‘that it fails to give ordinary people fair notice of the conduct it prohibits,’ or is ‘so

standardless that it invites arbitrary enforcement’ by police, prosecutors, and juries.” Id. (quoting

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Johnson v. United States, 135 S. Ct. 2551, 2556 (2015)); see also Hodge v. Talkin, 799 F.3d 1145,

1171-72 (D.C. Cir. 2015). These concerns “are heightened in the First Amendment context.”

Bronstein, 2015 WL 9412106, at *3. Here, of course, as explained above, heightened scrutiny is

not warranted because any activities that could lead to prosecution under §§ 1591 or 2421A relate

to illegal transactions involving prostitution or sex trafficking. Even to the extent they involve

speech, such activities are afforded no First Amendment protection. Williams, 553 U.S. at 297;

Cent. Hudson Gas & Elec. Corp., 447 U.S.at 561-62.

       Moreover, even if Plaintiff’s vagueness challenge implicated First Amendment interests,

“‘perfect clarity and precise guidance have never been required even of regulations that restrict

expressive activity.’” Bronstein, 151 F. Supp. 3d at 37 (quoting Ward, 491 U.S. at 794). While

“‘[c]lose cases can be imagined under virtually any statute,’” it is “a ‘mistake’ to ‘belie[ve] that

the mere fact that close cases can be envisioned renders a statute vague.’” Hodge, 799 F.3d at 1173

(quoting Williams, 553 U.S. at 305-06). Where, as here, plaintiffs raise a facial vagueness

challenge, they must show that the challenged law is “vague in all its applications.” Id. (internal

quotation omitted).

       In addition, courts, including this Circuit, have recognized that a scienter requirement

“mitigate[s]” any vagueness in other terms of the statute by helping to ensure that a defendant had

adequate notice and by preventing arbitrary enforcement. Nat’l Ass’n of Mfrs. v. Taylor, 582 F.3d

1, 27-28 (D.C. Cir. 2009) (citing Vill. of Hoffman Estates v. Flipside, 455 U.S. 489, 499 (1982));

see also United States v. Scanio, 705 F. Supp. 768, 775 (W.D.N.Y. 1988) (scienter “‘help[s] to

ensure that the defendant had adequate notice and by guarding against capricious enforcement

through the requirement that he actually have intended the conduct which the statute seeks to guard

against’” (quoting Wright v. New Jersey, 469 U.S. 1146, 1151 & n.5 (1985) (Brennan, J.,



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dissenting from dismissal of appeal for want of substantial federal question) (citing Vill. of

Hoffman Estates, 455 U.S. at 499; Grayned v. City of Rockford, 408 U.S. 104, 111, 114 (1972)).

       Plaintiffs’ Complaint alleges that three provisions are unconstitutionally vague: (1) the

terms “promote” and “facilitate” in § 2421A(a), Compl. ¶ 149; (2) the phrase “contribute to sex

trafficking” in § 2421A(b)(2), Compl. ¶ 149; and (3) the definition added to § 1591 of

“participation in a venture” to mean “assisting, supporting, or facilitating,” Compl. ¶ 154.

However, these terms, in the overall context of the statutes in which they appear, are easily

understood and bear no resemblance to words and phrases—like “in a manner annoying to persons

walking by”—that courts have found result in facial vagueness because of their “fundamental

subjectivity.” See Bronstein, 151 F. Supp. 3d at 38; see also Holder v. Humanitarian Law Project,

561 U.S. 1, 20 (2010) (identifying terms “annoying,” “indecent,” “vagrants” as terms that the

Supreme Court has held vague because they require “untethered, subjective judgments”).

       First, in regard to the terms “promote” and “facilitate,” the prior statutory analysis

conducted by this Court and Judge Katsas, discussed above, suffices to dispense with the notion

that these terms are vague. As explained, these terms do not occur in § 2421A(b)(2) in a vacuum.

Rather, they occur in the context of a criminal statute requiring a mens rea of “intent”; where the

phrase “prostitution of another person,” together with an affirmative defense in jurisdictions where

the charged act was not illegal, denotes a specific act of illegal prostitution; and where the terms

are commonly understood as synonyms for aiding and abetting. Woodhull I, 334 F. Supp. 3d at

200-01; Woodhull II, 948 F.3d at 375 (Katsas, J., concurring).

       Moreover, similar wording and use of the terms promote and facilitate have been present

in the Travel Act and money laundering statutes for decades, and those terms have never been held

unconstitutionally vague in those contexts. To the contrary, courts have understood that the terms



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“promote” and “facilitate” in the Travel Act reference conduct “that would cause the unlawful

activity to be accomplished or that [would] assist[] in the unlawful activity in any way”—in other

words, conduct that provides assistance to a specific legal act. Bennett, 95 F.3d 1158, at *4 (9th

Cir. 1996) (unpublished) (upholding jury instruction on meaning of terms “to promote” or

“facilitate the promotion of” in the Travel Act); see also Aid and Abet, Black’s Law Dictionary

(10th ed. 2014) (defining “aid and abet” as “to assist or facilitate the commission of a crime, or to

promote its accomplishment”); cf. Rosemond, 572 U.S. at 71 (an accomplice is liable as a principal

when he gives “assistance or encouragement . . . with the intent thereby to promote or facilitate

commission of the crime”) (citing 2 W. LaFave, Substantive Criminal Law § 13.2, p. 337 (2003)).

Thus, “[t]he likelihood that anyone would not understand any of those common words seems quite

remote.” Hill, 530 U.S. at 732.

       Second, the phrase “contribute to sex trafficking” in § 2421A(b)(2) is similarly clear in

context. For one thing, the imposition of an aggravated penalty based on § 2421A(b)(2)

presupposes that the defendant meets the elements of the crime described in § 2421A(a); the

defendant thus must have been proven to act with the intent to promote or facilitate a specific act

of illegal prostitution. See 18 U.S.C. § 2421A(b). In addition, the cross-reference to § 1591(a)

means that an act of sex trafficking of a child, or of an adult by means of force, fraud, or coercion,

must have occurred or been attempted. Moreover, the word “contribute” is commonly understood,

both in and outside the legal context, as denoting a causal connection, as in “contributory

negligence,” or “contributory infringement.” See, e.g., Jones, 755 F.3d at 413–14 (adopting

“material contribution test to determine whether a website operator is ‘responsible, in whole or in

part, for the creation of development of [allegedly tortious] information” pursuant to 47 U.S.C.

§ 230(f)(3)); see also Merriam-Webster online (defining “contribute” as “to play a significant part



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in bringing about an end or result”). The aggravated crime identified in § 2421A(b)(2) thus means

that the defendant must have acted with reckless disregard of the fact that his conduct (which under

§ 2421A(a) must have been with the intent to promoting or facilitating a specific illegal act of

prostitution) helped to cause or bring about an act of sex trafficking of a child or of an adult by

force, fraud, or coercion. Nothing in this description supports a conclusion that it is

unconstitutionally vague.

       Third, the phrase “participation in a venture,” which appears in § 1591(a)(2) and in

§ 1595(a), has been understood and applied by courts and has never been deemed

unconstitutionally vague. E.g., A.B. v. Marriott Int’l, Inc., No. 19-5770, 2020 WL 1939678, at

*17-18 (E.D. Pa. Apr. 22, 2020) (finding sufficient allegations that hotel defendants benefitted

financially from participation in a sex trafficking venture based on numerous indications hotel

rooms were being used for sex trafficking); M.A. v. Wyndham Hotels & Resorts, Inc., 425 F. Supp.

3d 959, 967 (S.D. Ohio 2019) (finding sufficient allegations that hotel defendants “engag[ed] in

acts and omissions that were intended to support, facilitate, harbor, and otherwise further the

trafficker’s sale and victimization of [an individual] for commercial sexual exploitation”). The fact

that FOSTA added a definition of the phrase in § 1591(e)(4) does not change that conclusion.

Rather, courts have recognized that the significance of that definition is to affirm a “knowingly”

scienter requirement on criminal prosecutions pursuant to § 1591(a)(2). E.g., A.B., 2020 WL

1939678, at *10 (contrasting the “knowingly” mens rea identified in the definition in § 1591(e)(40

with the “knew or should have known” mens rea identified in the civil remedy provision in

§ 1595(a)). The definition does not otherwise change the meaning of “participation in a venture.”

       Moreover, any possible vagueness here is mitigated by the applicable scienter requirements

in the relevant provisions. See Nat’l Ass’n of Mfrs., 582 F.3d at 27-28. In particular, “the Supreme



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Court has found a ‘knowing’ requirement sufficient to ameliorate vagueness concerns.” Id. at 27-

28 (citing Hill, 530 U.S. at 732); see also Robinson v. Dist. of Columbia, 234 F. Supp. 3d 14, 24

(D.D.C. 2017) (inferred mens rea of knowledge sufficed to mitigate any vagueness in law

prohibiting carrying open containers of alcohol). The relevant provisions here all have a scienter

requirement of knowledge or intent. See 18 U.S.C. § 2421A(a), (b) (requiring “intent to promote

or facilitate the prostitution of another person”); id. § 2421A(b)(2) (requiring “intent to promote

or facilitate the prostitution of another person” and “reckless disregard of the fact that such conduct

contributed to sex trafficking”); 18 U.S.C. § 1591(e)(4) (requiring “knowingly” assisting,

supporting, or facilitating a violation of § 1591(a)).

       The Court therefore should grant judgment as a matter of law in Defendants’ favor on

Count III.

IV.    PLAINTIFFS’ “SELECTIVE REMOVAL OF IMMUNITY” CLAIM (COUNT IV)
       FAILS AS A MATTER OF LAW

       In Count IV, Plaintiffs challenge Congress’s alleged “selective removal” for crimes of sex

trafficking from the immunity that § 230(c)(1) granted to interactive computer services against

State or third party suits. No court has ever held that the First Amendment confers a right to federal

statutory immunity against State or private suits. Rather Congress’s enactment of § 230

represented a policy choice to “‘promote the continued development of the internet.’” Klayman v.

Zuckerberg, 753 F.3d 1354, 1355-56 (D.C. Cir. 2014) (quoting 47 U.S.C. § 230(b)).

       But just as “Congress sets the policy in the statutes it enacts,” Ctr. for Biological Diversity

v. EPA, 722 F.3d 401, 413 (D.C. Cir. 2013), so may it also amend that policy as it sees fit, within

constitutional bounds. Cf. Nixon v. United States, 938 F.2d 239, 255 (D.C. Cir. 1991)

(acknowledging that “the courts may well be barred from second-guessing Congress’ fact-finding

and policy judgments within the zones of discretion assigned it by the Constitution”). As explained

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above, FOSTA’s enactment followed judicial holdings that had applied § 230(c)(1) to shield

websites’ alleged knowing or intentional facilitation of illegal prostitution and sex trafficking.

Because those courts’ interpretations did not comport with Congress’s intent in enacting § 230 in

the first place, Congress enacted FOSTA to ensure that § 230(c)(1) does not shield such conduct—

already subject to federal prosecution under the Travel Act and § 1591—from State criminal

prosecution or from State and private suits under statutory civil rights of action. It is well within

Congress’s prerogative to amend a statute, in response to judicial holdings, in order to reflect its

view of how potentially conflicting policies (encouraging the growth of the Internet vs. combatting

sex trafficking) should be harmonized.

       The Complaint asserts that, by stating that such conduct is not shielded by § 230(c)(1),

while leaving the immunity provided by § 230(c)(2) intact, FOSTA encourages websites to remove

more content than necessary. Compl. ¶ 163. However, those allegations appear to assume that

certain terms in FOSTA are unconstitutionally vague—a separate claim that should be rejected for

the reasons explained in Part III, supra. The Complaint identifies no recognizable First

Amendment doctrine that is violated by Congress’s amendment of § 230, nor does it identify any

cognizable First Amendment violation. Indeed, Plaintiffs concede that the decisions they allege

third party websites made to disallow certain content are not required by FOSTA, but are instead

the result of the websites’ market-based assessments of the relative costs and benefits of

maintaining certain content on their sites. Compl. ¶ 163. The First Amendment provides no

conceivable right to individuals against the Government with respect to such private corporate

decisions. Accordingly, the Court should grant judgment as a matter of law in Defendants’ favor

on Count IV.




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V.     PLAINTIFFS’ “DEFECTIVE SCIENTER” CLAIM (COUNT V) FAILS AS A
       MATTER OF LAW

       Plaintiffs next allege that FOSTA §§ 3 and 5 violate the First Amendment because, as

construed by Plaintiffs, these provisions lack a scienter requirement. The Supreme Court has held

that some form of scienter is required in connection with obscenity convictions in order “to avoid

the hazard of self-censorship of constitutionally protected material and to compensate for the

ambiguities inherent in the definition of obscenity.” Mishkin v. New York, 383 U.S. 502, 511

(1966). Thus, in Smith v. California, 361 U.S. 147 (1959), the Court held that a bookseller could

not be convicted of selling an obscene book based on strict liability. Id. at 153-54. However, the

Court has not identified any particular scienter requirement for crimes involving distribution of

obscenity. See id. (“We need not and most definitely do not pass today on what sort of mental

element is requisite to a constitutionally permissible prosecution”).

       Contrary to Plaintiffs’ assertions, FOSTA § 3 (§ 2421A) and FOSTA § 5 (the § 1591

Amendment) do contain scienter requirements. Any prosecution under § 2421A(a) or (b) requires

the Government to prove the defendant had the intent to promote or facilitate a specific illegal act

of prostitution. 18 U.S.C. § 2421A(a), (b). An aggregated offense pursuant to § 2421A(b)(2)

imposes an additional scienter requirement; thus, in addition to the intent that is already required,

the Government must prove the defendant acted in “reckless disregard” of the fact that the charged

conduct contributed to sex trafficking of a child or of an adult by force, fraud, or coercion, in

violation of § 1591. 18 U.S.C. § 2421A(b)(2).

       FOSTA’s § 1591 Amendment defined a term in the statute (“participation in a venture”)

but changed nothing about § 1591’s underlying mens rea. Both before and after the passage of

FOSTA, a prosecution under § 1591(a) requires the government to prove specific knowledge of

sex trafficking. Moreover, the definition added by FOSTA includes an express mens rea element:

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“knowingly assisting, supporting, or facilitating.” 18 U.S.C. § 1591(e)(4) (emphasis added).

        These scienter requirements conform to the Supreme Court’s holdings on the issue. See

Elonis v. United States, 135 S. Ct. 2001, 2015-16 (2015) (Alito, J., dissenting) (recognizing that

the majority did not decide whether “knowledge” or “recklessness” was the appropriate scienter

requirement for a conviction pursuant to 18 U.S.C. § 875(c), based on making threats on social

media, and contending that a recklessness mens rea would not violate the First Amendment,

particularly given that such threats are not protected speech).

        Moreover, the Court has held that, where a federal statute does not identify a scienter

requirement, one will be inferred where necessary. Id. at 2010 (“When interpreting federal criminal

statutes that are silent on the required mental state, we read into the statute only that mens rea

which is necessary to separate wrongful conduct from otherwise innocent conduct.” (internal

quotation omitted)). Thus, in Elonis, the Court overturned the conviction pursuant to 18 U.S.C.

§ 875(c) where the trial court had not imposed any scienter. Elonis, 135 S. Ct. at 2012. However,

the Court did not strike down the statute. See id. Elonis thus makes clear that an allegedly deficient

scienter requirement is not a valid basis for overturning a federal statute on its face. Rather, to the

extent a statute fails to impose the necessary scienter, a court may infer it in the course of individual

criminal proceedings. See id. at 2010. The Court should reject Count V on that basis alone.

        In addition, the Court should reject Count V because FOSTA does not address mere written

content, whether obscenity or threats. Rather, as discussed above, FOSTA on its face does not

regulate speech. Instead, it is directed at conduct that promotes or facilitates illegal prostitution

and sex trafficking. Plaintiffs’ prior briefing cited no case that has applied Smith or Elonis to a

similar context. For all of these reasons, the Court should grant judgment as a matter of law in

Defendants’ favor on Count V.



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VI.    PLAINTIFFS’ EX POST FACTO CLAIM (COUNT VI) FAILS AS A MATTER OF
       LAW

       In Count VI, Plaintiffs seek to invalidate FOSTA on its face on the ground that FOSTA

§ 4(b), which purports to allow for retroactive application of the § 230 Amendments, violates the

Ex Post Facto Clause, U.S. Const. art. I, § 9, cl. 3. A “‘law that changes the punishment, and inflicts

a greater punishment[] than the law annexed to the crime[] when committed,’ is an ex post facto

law.” United States v. Alvaran-Velez, 914 F.3d 665, 668 (D.C. Cir. 2019); cf. Cole v. Fulwood,

879 F. Supp. 2d 60, 63 (D.D.C. 2012) (“The Ex Post Facto Clause of the United States Constitution

prohibits retroactive increases in punishment for a crime after its commission.”).

       Plaintiffs’ claim does not present a basis for facially invalidating FOSTA. Courts have

considered whether a particular sentence or other condition, as applied to an individual criminal

defendant or parolee, presents an ex post facto violation. E.g., Carmell v. Texas, 529 U.S. 513, 516

(2000) (considering criminal defendant’s ex post facto challenge to application of amended State

law to him on direct appeal from his conviction); Lynce v. Mathis, 519 U.S. 433, 436 (1997)

(considering habeas ex post facto claim of individual who had been returned to prison after his

provisional early release credits had been revoked under new State law); Alvaran-Velez, 914 F.3d

at 666-67 (considering criminal defendant’s claim that application of new sentencing guideline to

him was an ex post facto violation); Daniel v. Fulwood, 766 F.3d 57, 60 (D.C. Cir. 2014)

(considering class action claims of ex post facto violations where the proposed class consisted of

currently incarcerated inmates who had already had parole hearings under guidelines that had been

revised since the date of their offenses); Fletcher v. Reilly, 433 F.3d 867, 869 (D.C. Cir. 2006)

(considering habeas claim that U.S. Parole Commissions’ “retroactive application of . . . new

federal regulations during his reparole hearing . . . violated the Ex Post Facto Clause”). However,

no court has ruled, in a pre-enforcement challenge, that a law is facially invalid on ex post facto

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grounds. This is because, when evaluating an ex post facto claim, “[t]he controlling inquiry is one

of practical effect,” rather than the facial terms of a statute or guideline. Id. at 879. As a practical

matter, any potential ex post facto violation can only be assessed on a case-by-case basis after the

prosecution or civil action has commenced.

        Here, as the Department of Justice noted in its letter to the Office of Management and

Budget, State prosecutors can avoid any potential ex post facto problem when bringing claims

pursuant to § 1595 or pursuant to State laws identified in § 230(e)(5)(B) or (C) by pursuing only

newly prosecutable criminal conduct that takes place after FOSTA’s enactment. See March 23,

2018 Letter, at 1-2. Moreover, Plaintiffs fail to identify any attempt by a State prosecutor to bring

charges under any of those laws that could be deemed retroactive, nor, given the Department’s

public position, can they demonstrate a substantial risk that any such charges will be brought in

the future. In addition, Plaintiffs have not identified any risk that any such laws might be

retroactively applied to them. The Court therefore should grant judgment as a matter of law in

Defendants’ favor on Count VI.

                                          CONCLUSION

        For the foregoing reasons, summary judgment should be entered in favor of Defendants.

Dated: August 31, 2020                          Respectfully submitted,

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